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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA


STEPHEN GERBER, CASEY WEITZMAN,
MEGERDICH KASSABIAN, and K.B.                 Case No.: 4:23-cv-00186-KAW
FORBES, Individually and on Behalf of
Themselves and All Others Similarly Situated,
                                              JOINT LETTER RE DISCOVERY
      Plaintiffs,
                                              DISPUTE
v.
X CORP., as Successor-in-Interest to Twitter,
Inc.,
       Defendant.




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                                     Attestation of Counsel

In accordance with Paragraphs 13 and 14 of the Standing Order, Plaintiffs and Defendant hereby
attest that they have met and conferred by video conference and have complied with Section 9 of
the Northern District’s Guidelines for Professional Conduct regarding discovery prior to filing this
joint letter.


Date: April 14, 2025
                                                             /s/ Joseph P. Guglielmo
                                                             By: Joseph P. Guglielmo


                                                             /s/ Israel David
                                                             By: Israel David


                                                             /s/ Joel Kurtzberg
                                                             By: Joel Kurtzberg




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I.     Unresolved Dispute and Background
This putative class action arises out of an alleged data breach of Defendant’s systems that Plaintiffs
claim exposed at least 200 million Twitter users’ data. ECF 128 ¶ 2. Twitter denies those
allegations. The parties dispute whether Defendant is improperly withholding – on the grounds of
attorney-client privilege and attorney work product protection (collectively, “privilege”) – twelve
incident reports or forensic investigation reports (the “Disputed Reports”).

On July 11, 2024, Defendant made a production to Plaintiffs of two documents (totaling eight
pages) that, according to Defendant, constituted the entirety of Defendant’s relevant and non-
privileged incident or investigation reports. Defendant withheld from this production thirteen
documents comprising 159 pages (the “Initially Disputed Reports”), including the twelve Disputed
Reports. On July 22, 2024, Defendant furnished a categorical privilege log, asserting that all the
Initially Disputed Reports were “[f]orensic investigation and incident reports prepared at the
direction of privacy and data protection counsel . . . and reflecting legal advice from privacy and
data protection counsel regarding investigation of the API bug for purposes of responding to
regulator inquiries and in anticipation of potential litigation.” Ex. A.

On July 24, 2024, Plaintiffs sent Defendant a letter contending that the Initially Disputed Reports
were not privileged, and that Defendant’s categorical privilege log of July 22, 2024 was
inadequate. On August 7, 2024, Defendant responded, maintaining that all the Initially Disputed
Reports were privileged and that Defendant’s July 22, 2024 privilege log was proper.

Between August 2024 and March 2025, the parties exchanged various additional letters and
communications (i) disputing and defending the claimed privileges over the Initially Disputed
Reports and (ii) challenging and defending/supplementing Defendant’s privilege log. On February
21, 2025, Defendant provided Plaintiffs an updated privilege log. The parties also conducted via
video conference three meet-and-confer sessions, in which they, in addition to covering other
issues, discussed and attempted to narrow their disputes regarding (i) the claimed privilege of the
Initially Disputed Reports and/or the Disputed Reports and (ii) Defendant’s privilege log. These
video conferences occurred on August 23, 2024, February 24, 2025 (this meet-and-confer session
exclusively addressed the foregoing issues), and April 7, 2025.

The parties were partially successful in narrowing and resolving their disputes. On September 11,
2024, Defendant produced to Plaintiffs a seven-page disclosure issued by Defendant to the Federal
Trade Commission, which Defendant states it discovered after making its July 11, 2024 production
and serving its initial privilege log. Additionally, on February 21, 2025, Defendant furnished a
revised privilege log, which, as requested by Plaintiffs, reflected Defendant’s claimed basis for
withholding the Initially Disputed Reports on a document-by-document basis. Finally, on April
7, 2025, Defendant stated that it had conducted further diligence, withdrew its assertion of
privilege as to one of the Initially Disputed Reports – a two-page disclosure to the European Data
Protection Commission – and produced that disclosure to Plaintiffs, along with a further revised
privilege log reflecting that change. Ex. B. The parties, however, have been unable to eliminate
their dispute regarding whether the remaining twelve reports – the Disputed Reports, which
comprise 157 pages – are privileged and/or protected by the attorney work-product doctrine and
may be properly withheld.



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II.    Plaintiffs’ Position
The party asserting a privilege bears the burden of establishing it. Transamerica Life Ins. Co. v.
Richards, No. CV 22-0284 HDV (PVCX), 2024 WL 4866693, at *9 (C.D. Cal. Apr. 29, 2024). In
a diversity action like this proceeding under the Class Action Fairness Act, state privilege law
governs the scope and application of the attorney-client privilege, and federal common law
governs the scope and application of the attorney work product protection. Id. at *6. In short, and
as per the below, the Disputed Reports – which contain extensive factual information regarding
various aspects of the data breach – are not privileged, and must be produced.
A.     Defendant Has Not Established, and Cannot Establish, that the Disputed Reports
       Are Subject to the Attorney-Client Privilege
The attorney-client privilege protects confidential communications “between a client and his or
her lawyer in the course of that relationship.” Cal. Evid. Code § 952. It may, in limited cases,
extend to communications with counsel’s agents furthering the attorney-client relationship. See
Cal. Earthquake Auth. v. Metro. W. Sec., LLC, 285 F.R.D. 585, 595 (E.D. Cal. 2012). However,
it covers only communications themselves, not facts, Zurich Am. Ins. Co. v. Superior Ct., 155 Cal.
App. 4th 1485, 1504 (Cal. App. 2 Dist. 2007), and must be “narrowly construed.” Sun v. Ikea US
W., Inc, No. 15-CV-01146-MEJ, 2015 WL 6734480, at *4 (N.D. Cal. Nov. 4, 2015).

Even a cursory examination of Defendant’s privilege logs reveals that the Disputed Reports are
not legal memoranda from counsel to Defendant, requests to counsel seeking legal advice, or
information provided to counsel for purposes of obtaining advice. See Exs. A-B. Rather, with one
three-page exception (Twitter000000011), the Disputed Reports are investigation or incident
reports generated by nonlawyers at Defendant (mostly software and security personnel) and shared
with many other nonlawyers at Defendant (again, mostly software and security specialists), as well
as various attorneys. See id. Thus, as a starting point, it is apparent that the Disputed Reports have
– in whole or at least in very large part – a non-legal, business purpose.

When investigation or incident reports, such as the Disputed Reports, are created in the “usual
course of business for a purpose independent of possible legal consultation, no privilege is created
even if . . . later sent to counsel.” City of Hemet v. Superior Ct., 37 Cal. App. 4th 1411, 1418 (Cal.
App. 4 Dist. 1995) (as modified). Similarly, when incident or investigation reports are created for
a dual purpose that encompasses both transmission to counsel for consultation and an independent
non-legal purpose, the “dominant purpose” controls for purposes of the attorney-client privilege.
Id. Further, reports are not privileged merely because they were sent to counsel. C.P. v. Costco
Wholesale Corp., No. 5:22-CV-01858-JFW-SP, 2023 WL 4157450, at *4 (C.D. Cal. May 16,
2023) (sharing with attorney does not make factual report privileged); Ward v. Equilon Enters.,
LLC, No. C 09-4565 RS (JL), 2011 WL 13257271, at *6 (N.D. Cal. Feb. 24, 2011) (sub. history
omitted) (report generated in order to comply with regulations governing incident investigations
not privileged); see In re Samsung Customer Data Sec. Breach Litig., 2024 WL 3861330, at *8,
*13 (D.N.J. Aug. 19, 2024) (documents not privileged where purpose was to gain cybersecurity
vendor’s expertise and to learn facts about breach, not legal advice); Wengui v. Clark Hill, PLC,
338 F.R.D. 7, 14-15 (D.D.C. 2021) (no privilege where goal was to determine “how the attack
happened and what information was exfiltrated.”); see also Leonard v. McMenamins Inc., 2023
WL 8447918, at *4 (W.D. Wash. Dec. 6, 2023) (“[F]actual information . . . not protected merely
because an attorney was copied.”).


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Here, for at least two main reasons, it is clear the Disputed Reports were made predominantly, if
not exclusively, for ordinary-course business-related purposes – including compliance with
regulations mandating that businesses impacted by data breaches provide individualized notices to
data breach victims – as opposed to being created to request or to transmit legal advice.

First, Defendant’s own privilege logs identify only one purpose for all Disputed Reports –
“responding to regulator inquiries,” including providing breach notifications via email to millions
of Twitter users. See Exs. A-B; Ward, 2011 WL 13257271, at *6 (report created to satisfy
investigation requirements not privileged); Samsung, 2024 WL 3861330, at *8, *13 (report created
to convey facts about breach not privileged); Wengui, 338 F.R.D. at 14-15 (same); see, e.g., Cal.
Civ. Code § 1798.82 (requiring individualized data breach notifications, which necessarily
requires an investigation to identify individuals’ data at issue); see also, e.g., X, Twitter Privacy
Center: Update about an alleged incident impacting some accounts on Twitter (Dec. 9, 2022) (“we
notified the affected users promptly”). 1

Second, it defies logic that the results of Defendant’s investigation-related and notification-related
business objectives relating to a massive data breach impacting over 200 million users could
possibly constitute just four summary documents (comprising seventeen pages): (i) the two
regulatory disclosures referenced above (nine pages total); and (ii) two public relations memoranda
produced on July 11, 2024 (eight pages total). The 157 pages of Disputed Reports that Defendant
is withholding clearly constitute factual, and thus non-privileged, incident or forensic investigation
reports. Indeed, because the Disputed Reports were Defendant’s only investigation/incident
reports relating to the data breach, the Disputed Reports were necessarily generated for critical
business, non-legal functions, and are not privileged. See Wengui, 338 F.R.D. at 14-15
(investigative report not privileged where it was “the only one”).
B.     Defendant Has Not Established, and Cannot Establish, that the Disputed Reports
       Are Subject to Attorney Work Product Protection
“[M]aterial obtained and prepared by an attorney or the attorney’s agent in anticipation of litigation
or preparation for trial may be immune from discovery.” Transamerica, 2024 WL 4866693, at *9.
But documents, such as the Disputed Reports, that would have been created in the ordinary course
anyway are not protected. See Sun, 2015 WL 6734480, at *3 (“[I]ncident report is not protected
by the attorney work-product doctrine.”); Lewis v. Wells Fargo & Co., 266 F.R.D. 433, 441 (N.D.
Cal. 2010) (“generalized fear of litigation does not turn a compliance audit into attorney work
product”); see also In re Lakeview Loan Servicing Data Breach Litig., No. 22-20955-Civ-
GAYLES/TORRES, 2025 WL 928716, at *10 (S.D. Fla. Mar. 27, 2025) (data breach investigation
reports not work product because created for regulatory compliance); Wengui, 338 F.R.D. at 15
(forensic report not work product where broadly shared internally, suggesting business purpose);
In re Dominion Dental Servs. USA, Inc. Data Breach Litig., 429 F. Supp. 3d 190, 194–95 (E.D.
Va. 2019) (cybersecurity report that lacked a litigation focus and was consistent with company’s
operational practices not protected work product).

Moreover, even if the Disputed Reports were work product (they are not), Plaintiffs would still be
entitled to them. Plaintiffs have a “substantial need for the[m] to prepare [their] case and cannot,

1
  Available at: https://privacy.x.com/en/blog/2022/update-about-an-alleged-incident-impacting-
some-accounts-on-twitter.

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without undue hardship, obtain their substantial equivalent.” Fed. R. Civ. P. 26(b)(3).

III.   Defendant’s Position

Throughout the meet and confers leading up to this joint letter, Plaintiffs argued that “investigation
or incident reports” can never be privileged as a matter of law because they are always created
primarily for a business purpose. When asked, for example, whether privilege and/or work product
would apply if the Disputed Reports were created at the direction of lawyers, for the primary
purpose of providing legal advice and in anticipation of litigation, Plaintiffs’ counsel said that it
would not. That, however, is not the law, because whether any documents are privileged or work
product is fact-dependent. See, e.g., In re Experian Data Breach Litig., 2017 WL 4325583, at *1
(C.D. Cal. May 18, 2017) (finding that report and documents related to the investigation of a data
breach were protected by the attorney work product doctrine because, under the “totality of the
circumstances,” it could “fairly be said that [they were] created because of anticipated litigation,
and would not have been created in substantially similar form but for the prospect of that
litigation”). Twitter conducted a fact-dependent inquiry of all documents in its privilege log – as
evidenced by the production of some documents (including Twitter000000012), even if they
contained a footer stating that the document is “PRIVILEGED & CONFIDENTIAL” – and have
withheld only those documents that satisfy the test for privilege and work product.

In the Ninth Circuit, “the primary-purpose test governs in assessing attorney-client privilege for
dual-purpose communications.” In re Grand Jury, 23 F.4th 1088, 1090 (9th Cir. 2021). This test
recognizes that “some communications might have more than one purpose.” Id. at 1091. By
contrast, for work product protection, the “because of” test applies, which “considers the totality
of the circumstances and affords protection when it can fairly be said that the document was created
because of anticipated litigation, and would not have been created in substantially similar form but
for the prospect of that litigation.” Id. at 1092–93. “It is a broader test than the ‘primary purpose’
test because it looks only at causal connection, and not a ‘primary’ reason.” Id. at 1092.

The documents on the privilege log satisfy these tests. As Twitter explained to Plaintiffs during
the meet-and-confers, the documents on the log were created at the direction of in-house Legal
Counsel and Senior Director of Legal at Twitter for the primary purpose of advising Twitter about
anticipated litigations worldwide, Twitter’s regulatory obligations, and to mitigate the risks of
anticipated regulatory proceedings. Twitter informed the Plaintiffs – and now informs the Court
– that it is able and willing to provide an affidavit from the attorney in question to support its
claims of privilege and work product, but Plaintiffs indicated that sworn testimony of that type
would not change their position.

But it should, because the law is that some incident and investigation reports are privileged, In re
Experian Data Breach Litig., 2017 WL 4325583, at *1, and Twitter, through its proffer, has
demonstrated that it can make the necessary showing as to these documents.

To confirm, Twitter’s decisions to withhold documents on the bases of attorney-client privilege
and the work product doctrine have been made carefully, following extensive investigation that
included significant discussion with the parties involved in creating these documents. The goal of
these conversations was to ensure that Twitter had a complete understanding of why the documents
were created, and whether they would exist if not for the prospect of anticipated litigation. Indeed,

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as a direct result of this careful investigative work, Twitter agreed to produce a document marked
“PRIVILEGED & CONFIDENTIAL” on its face because, after further investigation about the
document’s origin, Twitter determined that it should not be withheld.

For the avoidance of doubt – and as discussed during Twitter’s meet-and-confers with Plaintiffs –
Twitter is not claiming that the facts underlying the company’s investigation are privileged.
Twitter agrees that Plaintiffs are entitled to discover such information through methods that would
not force the company to reveal privileged or protected information. Thus, for example, if
Plaintiffs were to ask questions about the causes of the API Bug at issue in this case at a deposition,
Twitter would not instruct its witness not to answer on privilege grounds. For this reason, Plaintiffs
cannot make a showing of “substantial need” to overcome work product protection, as there are
ways for them to get the information they seek that do not infringe upon the attorney-client
privilege and attorney work-product doctrine.

                                      [signature page follows]




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Dated: April 14, 2025

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